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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                        §
    In re:                                                              § Chapter 11
                                                                        §
    IHEARTMEDIA, INC., et al., 1                                        § Case No. 18-31274 (MI)
                                                                        §
                               Debtors.                                 § (Jointly Administered)
                                                                        §

               NOTICE OF RESETTING OF THE DISTRIBUTION RECORD DATE

       PLEASE TAKE NOTICE THAT on January 22, 2019, the Bankruptcy Court entered an
order [Docket No. 2525] confirming the Modified Fifth Amended Joint Chapter 11 Plan of
Reorganization of iHeartMedia, Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the
Bankruptcy Code [Docket No. 2521] (the “Plan”). 2

        PLEASE TAKE FURTHER NOTICE THAT the Distribution Record Date is defined
in the Plan as “other than with respect to Securities of the Debtors deposited with DTC, the record
date for purposes of determining which Holders of Allowed Claims against or Allowed Interests
in the Debtors are eligible to receive distributions under the Plan, which date shall be the
Confirmation Date, or such other date as is agreed to by the Debtors and the Required Consenting
Senior Creditors or designated in a Final Order of the Bankruptcy Court.” Plan at Art. I.A.111
(emphasis added).

       PLEASE TAKE FURTHER NOTICE THAT on February 5, 2019 the Debtors filed the
Notice of Setting of Distribution Record Date [Docket No. 2678] setting the Distribution Record
Date as February 22, 2019.

       PLEASE TAKE FURTHER NOTICE THAT the Debtors and the Required Consenting
Senior Creditors have agreed to reset the Distribution Record Date to March 1, 2019.




1
      Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims,
      noticing, and solicitation agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia,
      Inc.’s principal place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio,
      Texas 78258.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan.
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        PLEASE TAKE FURTHER NOTICE THAT copies of all documents filed in these
chapter 11 cases are available free of charge by visiting https://cases.primeclerk.com/iheartmedia
or by calling (877) 756-7779 (toll-free within the U.S. or Canada) or (347) 505-7142 (outside the
U.S. or Canada). You may also obtain copies of any pleadings by visiting the Court’s website at
https://ecf.txsb.uscourts.gov in accordance with the procedures and fees set forth therein.



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Houston, Texas
February 13, 2019

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                                             and Debtors in Possession
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                                      Certificate of Service

        I certify that on February 13, 2019, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                       /s/ Patricia B. Tomasco
                                                       Patricia B. Tomasco
